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                            EXHIBIT 78




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        TRAVIS J. ILES
                                                                                             E. WALLY KINNEY
   SECURITIES COMMISSIONER
                                                                                                  CHAIR

                                                                                             KENNY KONCABA
        CLINTON EDGAR
                                                                                                MEMBER
DEPUTY SECURITIES COMMISSIONER
                                                                                              ROBERT BELT
                                                                                                MEMBER
      Mail: P.O. BOX 13167
    AUSTIN, TEXAS 78711-3167      Texas State Securities Board                               MELISSA TYROCH
                                                                                                 MEMBER
                                             208 E. 10th Street, 5th Floor
                                              Austin, Texas 78701-2407                        EJIKE E OKPA II
      Phone: (512) 305-8300
                                                 www.ssb.texas.gov                               MEMBER
     Facsimile: (512) 305-8310




                                                May 9, 2023

         Dan Waller, Esq.
         Glast, Phillips & Muarry                                             Sent via e-mail to
         14801 Quorum Drive, Suite 500                                        DWaller@gpm-law.com
         Dallas, TX 75254

                                                                                RE: Complaint Filed

         Dear Mr. Waller:

         The staff of the Texas State Securities Board (the “Staff”) has completed its review of the
         complaint received by the Staff against Highland Capital Management, L.P. The issues
         raised in the complaint and information provided to our Agency were given full
         consideration, and a decision was made that no further regulatory action is warranted at
         this time.

         If you have any questions regarding the foregoing, please contact me via e-mail at
         cedgar@ssb.texas.gov.



                                                                 Sincerely,



                                                                 Clint Edgar
                                                                 Deputy Securities Commissioner




                                                                                            Appx. 02296
